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15                                UNITED STATES DISTRICT COURT
16                                      DISTRICT OF NEVADA
17

18    Cung Le, Nathan Quarry, Jon Fitch, Brandon       Case No.: 2:15-cv-01045-RFB-(PAL)
19    Vera, Luis Javier Vazquez, and Kyle
      Kingsbury on behalf of themselves and all
20    others similarly situated,                       ZUFFA, LLC’S MOTION TO
                                                       EXCLUDE THE TESTIMONY OF
21                  Plaintiffs,                        DR. HAL SINGER UNDER FED.
             v.                                        R. EVID. 702 AND DAUBERT
22
      Zuffa, LLC, d/b/a Ultimate Fighting              HEARING REQUESTED
23
      Championship and UFC,
24                                                     [REDACTED]
                    Defendant.
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 1           Defendant Zuffa, LLC (“Zuffa”) hereby moves to exclude certain opinions of Plaintiffs’
 2    expert Dr. Hal Singer pursuant to Federal Rule of Evidence 702 and Daubert v. Merrell Dow
 3    Pharmaceuticals, 509 U.S. 579 (1993). In support of this motion, Zuffa states as follows:
 4                                     PRELIMINARY STATEMENT
 5           Plaintiffs have alleged that, as a result of the Challenged Conduct identified in the
 6    Consolidated Amended Complaint, Zuffa has monopolized the market for the promotion of live
 7    MMA events and monopsonized the market for MMA fighter services. Order Denying Mot. to
 8    Dismiss. ECF No. 314 at 3. Plaintiffs retained Dr. Hal Singer to present economic evidence to
 9    support their claims, including (1) whether the members of the two plaintiff classes were
10    compensated at lower levels than would have existed but for the Challenged Conduct (antitrust
11    injury); (2) aggregate damages; (3) whether indirect evidence demonstrates that Zuffa had
12    monopoly or monopsony power in properly defined antitrust markets; (4) whether the Challenged
13    Conduct foreclosed competition; and (5) whether direct evidence exists of harm in a monopoly
14    output market. Declaration of Nicholas A. Widnell (“Widnell Decl.”), Ex. 1, Expert Report of
                                              1
15    Dr. Hal Singer (“Singer Rep.”) ¶¶ 2-4. Dr. Singer estimates damages anywhere from $811.2
16    million to $1.6 billion for Plaintiffs’ Bout Class. Id. ¶ 245.
17           Injury and Damages: Dr. Singer concludes that there is antitrust injury and damages to
18    the Bout Class based on regression analyses he has conducted. The regressions find a negative
19    relationship between two things: (1) the percentage of athletes signed by Zuffa to multi-bout,
20    exclusive contracts—which Dr. Singer titles “foreclosure share”; and (2) the percentage of
21    athlete compensation of total event revenues (the athletes’ “wage share”). Singer Rep. at ¶ 186,
22    Table 6. In Dr. Singer’s model, he selected the wage share at UFC events as the dependent
23    variable for his regressions. Dr. Singer uses these regressions to conclude that the conduct
24    Plaintiffs challenge adversely affected (had a negative relationship with) athletes’ wage share in
25    order to estimate injury and damages. Zuffa’s expert Professor Robert Topel has shown that
26
      1 All exhibits referenced in this motion are exhibits to the Declaration of Nicholas A. Widnell in
27
      Support of Zuffa’s Daubert Motion to Exclude Testimony of Dr. Hal Singer. For a definition of
28    “Challenged Conduct” and other terms cited in the motion, see Ex. 20 (Glossary of Terms).

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 1    when the same regressions are run with actual compensation of athletes as the dependent variable,
 2    rather than a percentage share of event revenue, the negative relationship disappears and there is
 3    no finding of injury or damages. Ex. 3, Expert Rep. of Prof. Robert Topel (“Topel Rep.”) ¶¶ 142,
 4    146-49.
 5           If these economic models are admitted as evidence, this would be the first known case
 6    where a wage share is used to measure an alleged anticompetitive effect, antitrust injury or
 7    damages. The common method applied by labor economists and applied in all known courts
 8    accepting regression analyses in antitrust cases to measure an anticompetitive effect on
 9    compensation is regressions with actual compensation as the dependent variable. Dr. Singer and
10    other experts for Plaintiffs argue that wage share is often referenced, particularly in “sports
11    economics,” in discussions of the bargaining power of sports leagues, but have identified no
12    example where wage share was used in a reputable economic article as the dependent variable in
13    a regression evaluating anticompetitive effect, impact or damages. Nor have Plaintiffs or their
14    experts identified any previous case where a textbook, reputable peer reviewed journal, or court
15    has endorsed a regression finding an anticompetitive effect by a relationship to “wage share”
16    when the same regressions, with actual compensation as the dependent variable, show no
17    anticompetitive effect.
18           The other side of Dr. Singer’s regression, his “foreclosure share” is also unheard of as a
19    measure of market foreclosure. For purposes of injury and damages, Dr. Singer defines
20    “foreclosure” as contracts of 30-months or longer (with a champion’s clause). This method of
21    establishing foreclosure of a market defines the conclusion: the 30-month multi-bout contracts
22    are defined as foreclosure. There is no econometric analysis found in Dr. Singer’s report to show
23    that the contracts actually foreclose competition. His “but for” world illustrates the problem
24    because Dr. Singer admits that in his but for world (the world that assumes the conduct Plaintiffs
25    challenge no longer takes place), Zuffa could have a 90 percent market share with no additional
26    competitors. Ex. 4, Dep. of Dr. Hal J. Singer, 9/27/17 (“Singer Dep. I”) 185:18-186:11. Dr.
27    Singer’s “foreclosure” share assumes its own conclusion as it is an input to (not the result of) his
28    regressions based on the weighted fraction of athletes in the market signed to standard Zuffa
                                                     2
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 1    promotional agreements. Any other provision also present in the standard Zuffa agreement,
 2    including the choice of law clause, would produce the same mathematical results in Dr. Singer’s
 3    regressions. Case law does not accept that contracts of this duration foreclose competition.
 4    Foreclosure of a market may not be assumed; an econometric study is required to show such an
 5    effect and that has not happened here. Courts have previously excluded testimony of Dr. Singer
 6    that assumed its own conclusions, including a “foreclosure share.” Mazda v. Carfax, Inc., No. 13-
 7    CV-2680 (AJN), 2016 WL 7231941, at *12 (S.D.N.Y. Dec. 9, 2016); Apotex, Inc. v. Cephalon,
 8    Inc., 321 F.R.D. 220 (E.D. Pa. May 19, 2017).
 9           Dr. Singer also uses an undefined but-for world, an established requirement for his
10    damages model. Instead, he assumes a but-for world that lacks a causal connection between
11    specific Challenged Conduct and damages. Dr. Singer’s but-for world is also based on an
12    irrational assumption—that Zuffa would only use short-term, non-exclusive contracts—that is not
13    supported by record evidence, economic theory or Ninth Circuit precedent.
14           With respect to the Bout Class, Dr. Singer also calculates damages by comparing Zuffa’s
15    wage share to the wage shares of two other MMA promoters, Strikeforce and Bellator. This
16    method, like the analysis of Plaintiffs’ expert Dr. Zimbalist, fails to apply or meet accepted
17    standards for a “yardstick” or “benchmark” analysis. The court in In re Cox Enterprises, Inc. Set-
18    Top Cable Television Box Antitrust Litigation, No. 09–ML–2048–C, 2011 WL 6826813, at *16
19    (W.D. Okla. Dec. 28, 2011), criticized similar simplistic comparisons by Dr. Singer when, to
20    estimate damages in an antitrust case, he compared rental rates for premium cable boxes in
21    Oklahoma and Canada: “In light of the failure to consider the differences regarding regulations
22    and costs imposed on Canadian and American cable providers, the application of the Benchmark
23    method rests on unstable ground.”
24           Market Definition: In defining a market, Dr. Singer defines three relevant input markets
25    for the purchase of athlete services in which he contends that Zuffa is a monopsonist. He defines
26    one input market based on the athletes tracked by “FightMetric,” a service that ranks Zuffa’s
27    athletes for Zuffa and also tracks bout statistics for other firms that pay for the service. Singer
28    Rep. ¶ 99(1). Dr. Singer also defines another market and a “submarket” using a different ranking
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 1    service, “FightMatrix” of all ranked FightMatrix athletes who competed for promoters in North
 2    America or ONE Championship, and his submarket of the FightMatrix athletes who were ranked
 3    in the top 15 (so called “headliners”). Id. ¶¶ 99(2)(3). Dr. Singer goes on to define three separate
 4    output markets “related to MMA events that include athletes in his input markets.” Id. ¶ 115;
 5    Singer Dep. I 284:4-284:13.
 6           Dr. Singer claims that he applied the established “hypothetical monopolist” or “SSNIP”
 7    test from the Horizontal Merger Guidelines2 to define each relevant input or output market.
 8    Singer Rep. ¶¶ 99, 120; Singer Dep. I 55:8-19; 280:13-282:20. Even a cursory reveiw
 9    demonstrates he did not perform an analysis to meet the requirements for market definition under
10    Rule 702 and Daubert. When defining an input market for purposes of assessing monopsony
11    using the SSNIP test, “‘the market is not the market of competing sellers but of competing
12    buyers. This market is comprised of buyers who are seen by sellers as being reasonably good
13    substitutes.’” Todd v. Exxon Corp., 275 F.3d 191, 202 (2d Cir. 2001) (Sotomayor, J.) (quoting
14    Roger D. Blair & Jeffrey L. Harrison, Antitrust Policy and Monopsony, 76 Cornell L. Rev. 297,
15    324 (1991)). Rather than examining a market of competing buyers (MMA promoters), Dr. Singer
16    ignores the requirements of the SSNIP test and uses available rankings of athletes to determine
17    when athletes (not buyers) are substitutes for one another. He does no analysis of the extent to
18    which other MMA firms constrain Zuffa from imposing a “small but significant and non-
19    transitory” decrease in wages on athletes. Horizontal Merger Guidelines at 9. As to the output
20    markets, Dr. Singer conceded at his deposition that he did not perform a SSNIP analysis of cable
21    networks, broadcasters or sponsors. Ex. 5, Dep. of Dr. Hal J. Singer, 1/23/17 (“Singer Dep. II”)
22    551:7-24, 544:3-15.
23           Further, in the context of defining relevant markets, “courts have made clear that a
24    detailed examination of market data and a thorough economic analysis are required for
25
      2 This test seeks to define a relevant market by starting at the individual product level and then
26
      adding close substitutes so as to construct the narrowest group of products over which a
27    hypothetical monopolist profitably could impose a “small but significant and non-transitory
      increase in price (‘SSNIP’).” Ex. 6, U.S. Dep’t of Justice & Fed. Trade Comm’n, Horizontal
28    Merger Guidelines (2010), at 9 (“Horizontal Merger Guidelines”).

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 1    admissibility of ‘antitrust economics’ opinions.” AFMS LLC v. United Parcel Serv. Co., No.
 2    CV105830JGBAJWX, 2014 WL 12515335, at *8 (C.D. Cal. Feb. 5, 2014). Dr. Singer based his
 3    conclusion solely on his interpretation of “record evidence of – of what fighters and promoters
 4    thought about substitution possibilities.” Singer Dep. I at 290:16-291:12. But Dr. Singer is not
 5    an industry expert; he has no specialized knowledge that would aid the trier of fact in
 6    understanding the record evidence he interprets. Dr. Singer’s analyses of the geographic markets
 7    for his input markets are equally flawed. Dr. Singer asserts that athletes cannot easily move to
 8    promoters outside the U.S., but he provides nothing more than a layman’s interpretation of the
 9    record evidence to reach his conclusion. Singer Rep. ¶¶ 124-27.
10           Market Shares: Dr. Singer calculates shares in the input markets to assess Zuffa’s
11    alleged market share in the input market. He calculates the input share by “weighting” athletes by
12    promoter revenue (i.e. sales in the downstream market). Id. ¶ 128. Once again, Dr. Singer’s
13    method improperly assesses monopsony power. While section 5.2 of the Horizontal Merger
14    Guidelines identifies “revenue” as an appropriate metric for calculating share in an output market,
15    the input market requires a measurement of purchases in the input market (not sales in the
16    downstream output market). E.g., U.S. v. Syufy Enters., 903 F.2d 659, 666 n.10 (9th Cir. 1990)
17    (rejecting use of box office receipts to calculate share of the purchases in the input market for
18    first-run movies because box office receipts reflect the luck and skill of the theater in picking
19    which first-run movies to show). Even Plaintiffs’ other economic expert, Dr. Zimbalist, agreed
20    that the correct metric for calculating share of an input market should be sales in that market
21    (compensation, followed by athlete bouts), not sales in the output market. Ex. 7, Dep. of Andrew
22    Zimbalist 1/26/18 (“Zimbalist Dep. II”) 42:14-19; 43:9-12.
23           Competitive Effects: Finally, Dr. Singer draws unwarranted conclusions with regard to
24    three changes in market conditions—a decrease in the number of UFC events on Pay-Per-View
25    (“PPV”), an increase in PPV revenue, and a change to how Zuffa enforced its sponsorship rules
26    with athletes—that he labels “direct evidence” of competitive effects. In each instance, Dr.
27    Singer fails to perform any analysis to account for additional factors that could explain his
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 1    observed effects, instead he concludes that if Zuffa’s PPV events decrease, its PPV prices
 2    increase, or athletes are affected by a rule change, each change must be anticompetitive.
 3                                            LEGAL STANDARD
 4        I.      THE DAUBERT STANDARD
 5             The legal standards for admissibility of expert testimony are set forth in the separate
 6    Daubert motion concerning Plaintiffs’ expert Dr. Zimbalist filed simultaneously herewith. In
 7    Kumho Tire Co. v. Carmichael, 526 U.S. 137, 149-50 (1999), the Court explained that the
 8    Daubert inquiry may include: “Whether a ‘theory or technique . . . can be (and has been)
 9    tested’”; “Whether it ‘has been subjected to peer review and publication’”; “Whether, in respect
10    to a particular technique, there is a high ‘known or potential rate of error’ and whether there are
11    ‘standards controlling the technique’s operation’; and “Whether the theory or technique enjoys
12    ‘general acceptance’ within a ‘relevant scientific community.’” Id. at 149-50 (quoting Daubert,
13    509 U.S. at 592-94).
14             Applying these principles, this Circuit has regularly affirmed exclusion of untested
15    scientific methods in a number of scientific fields. Cooper v. Brown, 510 F.3d 870, 880 (9th Cir.
16    2007) (excluding results of chemical test because the “application of mass spectrometry to
17    forensic analysis “has been offered”—but never applied—“to courts only twice before” and the
18    testing “has not been subjected to peer review and there has been no discussion of forensic EDTA
19    testing in scientific literature since a 1997 article that headlines the need for a better analytical
20    method”); Domingo ex rel. Domingo v. T.K., 289 F.3d 600, 606 (9th Cir. 2002) (affirming
21    exclusion of plaintiffs’ causation expert where there was a “lack of any objective source, peer
22    review, clinical tests, establishment of an error rate or other evidence to show that [expert]
23    followed a valid, scientific method in developing his theory”); Cabrera v. Cordis Corp., 134 F.3d
24    1418, 1422 (9th Cir. 1998) (affirming exclusion of expert who testified that his “test had never
25    been peer-reviewed” and a separate expert where that expert “could not identify any peer-
26    reviewed research justifying his conclusion about reaction to hard silicone”).
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 1                                        STATEMENT OF FACTS
 2       I.      Plaintiffs’ Economic Expert Dr. Singer
 3            Dr. Singer submitted an expert report that concluded that MMA athletes in the Bout Class
 4    and the Identity Class were harmed as a result of the Challenged Conduct alleged in Plaintiffs’
 5    Consolidated Amended Complaint and put forward various methods of calculating damages. Dr.
 6    Singer describes the nature of the Challenged Conduct in the case, including contractual
 7    provisions, which he claims Zuffa exploits to make “effectively perpetual” and horizontal
 8    conduct, such as the acquisition of MMA promoters and counter-programming. Id. § 2.
 9            Dr. Singer attempts to show Zuffa’s market power both directly and indirectly. For his
10    indirect evidence of the input market, Dr. Singer defines two input markets and one sub-market.
11    Under his Tracked market, he includes all MMA athletes who competed with a promoter that
12    appears in the third-party website FightMetric database, id. ¶ 99(1), a service that ranks athletes
13    for Zuffa and tracks bout statistics for firms that pay for the service. Id. ¶ 108; Ex. 36, Decl. of
14    Abraham Genauer (founder of FightMetric) ¶¶ 7-11. For his Ranked market, he includes all
15    athletes from the Tracked market and also those ranked by the third-party website FightMatrix.
16    Id. ¶ 99(2). Dr. Singer then defines a sub-market of “Headliners” which consists of athletes
17    ranked in the top 15 in FightMatrix. Id. ¶ 99 (3). For his output market, Dr. Singer defines it as
18    “Live MMA Events in which the participating Fighters are in either the Relevant Input Market
19    (however measured) or the Relevant Input Submarket.” Id. ¶ 115. In the Output Market, Dr.
20    Singer explains that “MMA Promoters are the sellers; their customers include viewers, cable
21    networks, broadcast networks, and sponsors.” Id. For both the input and output markets, he
22    defines the geographic market as North America. Id. ¶¶ 121, 124.
23            Dr. Singer concludes that Zuffa has dominant shares in both the input and output markets.
24    For the input market, Dr. Singer uses two different weighting techniques to calculate Zuffa’s
25    share. Singer Dep. I 74:5-8. First, he weights athletes by their associated promoters’ PPV and
26    gate revenues. Singer Rep. ¶ 128. Second, for the “Headliner” submarket, he weights athletes by
27    the inverse of their rank according to FightMatrix, so, for example the sixth ranked athlete is
28    weighted twice as much as the twelfth ranked athlete. Id.; Singer Dep. I 140:19-141:8. He
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 1    concludes that Zuffa’s share has fluctuated between 71-91% under his Ranked market. Singer
 2    Rep. ¶ 129. Dr. Singer calculates share of the output market by the revenues earned by MMA
 3    promoters and concludes that Zuffa’s market share has                                            Id.
 4    ¶¶ 130-31.
 5            Dr. Singer also cites various acts that he says constitutes direct evidence of market power,
 6    including a PPV price increase and a reduction in the number of PPV events Zuffa holds per year.
 7    Id. § III.B.
 8            To show antitrust impact, Dr. Singer runs a regression that uses wage share—that is the
 9    fraction of event revenue paid to athletes as compensation—as the dependent variable in his
10    regression, id. ¶ 180; Singer Dep. I 105:1-16, and as the key variable of interest. Singer Dep. II
11    483:18-484:9. Dr. Singer defines an athlete as foreclosed if the athlete has a contract that
12    contains terms that could extend to 30-months in length and if the contract contains a champion’s
13    clause. Id. ¶ 171. Dr. Singer calculates his “foreclosure share” by dividing the total number of
14    “foreclosed” Zuffa athletes by the total number of athletes in his relevant market definitions, with
15    each athlete weighted (like his market share) with the revenues of the promoters. Id. ¶ 170. Dr.
16    Singer’s regression shows that an increase in Zuffa’s foreclosure share is correlated with a
17    decrease in athletes’ wage share. Id. ¶ 183. He concludes that athletes’ compensation as a share
18    of event revenue in the Bout Class would have been higher but for the Challenged Conduct. Id.
19            Dr. Singer also offers an opinion that common impact can be shown on the Bout Class.
20    Dr. Singer offers two proposed methodologies: first, he argues that any impact on athletes’ wages
21    would be broadly shared across the class because of alleged documentary evidence of a
22    compensation structure and a regression he ran showing the extent to which average
23    compensation paid to athletes overall is correlated with the compensation for an individual
24    athlete. Id. ¶¶ 215, 228. This analysis does not measure any actual injury or damages and Dr.
25    Singer agreed “I would not offer this model by itself as proof of common impact.” Singer Dep. I
26    102:7-18. Second, Dr. Singer used his impact regression models to predict the but-for wage share
27    for each athlete in each event in the but-for world and compared predicted and actual wage shares
28    to estimate the fraction of Zuffa athletes who were allegedly undercompensated. Id. ¶¶ 230-31.
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 1    Dr. Singer uses “three simulations” in calculating the but-for foreclosure shares at 0%, 20% and
 2    30% foreclosure levels. Singer Dep. I 36:7-15. Dr. Singer also finds common impact on Identity
 3    Class members. Id. ¶ 234.
 4             Dr. Singer calculates damages between $811.2 million and $1.6 billion for the Bout Class
 5    and $32.6 million for Identity Subgroup 1 and $4.5 million for Identity Subgroup 2. Dr. Singer
 6    uses three methodologies for determining damages for the Bout Class. First, Dr. Singer calculates
 7    damages by comparing Zuffa’s wage share to the wage share of two “benchmark” MMA
 8    promoters—Strikeforce and Bellator. Id. ¶ 248. Second, Dr. Singer calculates damages using a
 9    modified version of his impact regression that removes the pre-acquisition Strikeforce data’. Id. ¶
10    249. Third, Dr. Singer uses his impact regression, including the pre-acquisition Strikeforce data.
11    Id. ¶ 252. In both the second and third calculation Dr. Singer assumes that Zuffa’s foreclosure
12    share would fall to 30% in the but-for world, but is “not specifying exactly how you get there”
13    and acknowledged that there were “many ways to get your foreclosure share down.” Id. ¶ 250;
14    Singer Dep. I 46:24-47:1, 47:11-13.
15             Dr. Singer calculates damages to Identity Class Subgroup 1 using his foreclosure
16    regression and calculates damages for Identity Class Subgroup 2 assuming that all class members
17    would have received                                    Id. ¶¶ 254-55.
18             In deposition, Dr. Singer defined the but-for world and made clear that exclusive contracts
19    of one year duration could still exist with the “caveat” that there wouldn’t be “contractual
20    impediments” if an athlete under contract with the UFC wanted to go and compete at a rival
21    promoter’s event during the contract. Singer Dep. II 392:7-393:16. Dr. Singer did not take a
22    position on whether other portions of the Challenged Conduct unrelated to contract length exist in
23    the but-for world. Singer Dep. II 401:11-19, 401:20-403:14, 404:12-20; 388:20-389:13.
24       II.      Zuffa’s Economic Expert Professor Topel
25             Zuffa’s economic expert Professor Robert Topel concludes that Dr. Singer’s methodology
26    of determining classwide impact and damages is flawed. Professor Topel explains that Dr.
27    Singer’s decision to evaluate athletes’ wage share rather than the actual compensation levels paid
28    to athletes does not comport with the standard models of labor economics. Topel Rep. § VI.
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 1    Professor Topel explains that standard economic models evaluating workers’ compensation in
 2    allegedly monopsonized markets evaluate the level of workers’ pay, not wage share. Id. He
 3    explains that Dr. Singer’s approach is flawed because wage share could decline (and “foreclosure
 4    share” increase) for entirely procompetitive reasons, so documenting a negative correlation
 5    between the two provides no evidence of anticompetitive impact. Id. ¶¶ 135-36, 224.
 6           Aside from the use of wage share as the dependent variable in Dr. Singer’s regression,
 7    Professor Topel identifies two other problems with Dr. Singer’s regression: first, Dr. Singer’s
 8    inclusion of pre-acquisition Strikeforce data in his regression leads to unreliable and biased
 9    results that nearly doubles his damages figure; second, Dr. Singer’s use of revenue-weighted
10    foreclosure share leads to a mechanical negative correlation between his foreclosure share and
                            3
11    wage share variables. Id. § VII.
12           Professor Topel explains that Dr. Singer’s focus on wage share rather than actual
13    compensation is wrong. First, athlete pay has consistently gone up over the class period, an effect
14    which is contrary to the exercise of monopsony power and masked by the use of wage share as
15    the dependent variable. Id. § VIII. Second, running Dr. Singer’s exact regression on athletes’
16    level of compensation (as opposed to their compensation as a fraction of event revenue) shows no
17    impact or damages. Id. ¶¶ 146-47, Ex. 13.
18           Professor Topel also explains why Dr. Singer’s calculation of foreclosure is arbitrary and
19    not based on the length of time that athletes are actually unavailable to competitors. Id. § 10.
20    Professor Topel goes on to explain the flaws in Dr. Singer’s market definition, including the lack
21    of any economic analysis in Dr. Singer’s approach. Id. §§ XIII, XIV.F. Professor Topel then
22    explains why Dr. Singer’s two weighting structures for his market definition— revenue-
23    weighting and inverse-rank weighting are wrong. Id. § XIV. Professor Topel also refutes Dr.
24    Singer’s evidence of direct market power, including contesting that Zuffa raised PPV prices or
25    that there was a decline in output. Id. § XV.
26
      3 This occurs because Dr. Singer chooses to weight his foreclosure shares with event revenues so
27
      as event revenues increase, it enlarges Zuffa’s “foreclosure share” but also decrease the wage
28    share since event revenues are also the denominator of his dependent variable. Topel VII.B.3.

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 1              With regards to common impact, Professor Topel argues that Dr. Singer’s econometric
 2    evidence of a compensation structure is biased by the use of pre-class period data and that his
 3    common factors regression is unreliable. Id. § XVI. With regards to damages, Professor Topel
 4    explains that Dr. Singer’s definition of foreclosure is arbitrary, his assumption of the but-for
 5    foreclosure share is untenable, and that corrections to Dr. Singer’s impact regression reveal no
 6    evidence that class members’ compensation was reduced below competitive levels. Id. XVII.A.
 7       III.      Zuffa’s Labor Economist Professor Oyer
                                                                                                4
 8              Zuffa expert Paul Oyer, the Editor in Chief of The Journal of Labor Economics ,
 9    submitted a report to explain the common and economically-accepted methods of evaluating
10    compensation particularly as it relates to allegedly monopsonized markets and evaluate Dr.
11    Singer’s (and Professor Zimbalist’s) reliance on wage share. Ex. 8, Expert Rep. of Prof. Paul
12    Oyer (“Oyer Rep.”) ¶¶ 1, 5. Professor Oyer explained that “Labor share is not accepted in the
13    economics community as the proper basis to evaluate compensation and it is not used in
14    benchmarking competitive markets.” Id. ¶ 12. Rather, economists “typically look at the level of
15    pay . . . because it is a better proxy for the value the worker adds.” Id. Professor Oyer explained
16    that labor share “is not widely researched by labor economists, and it has not been widely studied
17    in particular industries by labor economists.” Id. ¶ 30.
18       IV.       Plaintiffs’ Rebuttal Labor Economist Professor Manning
19              On rebuttal, Plaintiffs’ labor economist Alan Manning submitted a report responding to
20    Professors Topel’s and Oyer’s opinions regarding the inappropriateness of Dr. Singer’s use of
21    wage share. He offers two opinions: (1) wage share can be an appropriate way for a labor
22    economist to analyze compensation and (2) wage share is an appropriate way to analyze the
23    compensation of MMA athletes in this case. Ex. 9, Expert Rep. of Prof. Alan Manning Rep.
24    (“Manning Rep.”) ¶ 5.
25              Professor Manning opines that the use of wage share is appropriate when three
26    circumstances exist: (1) the goal is to compare compensation to marginal revenue product; (2)
27    4 Dr. Singer described The Journal of Labor Economics as one of the top-tier labor economics
28    journals. Singer Dep. II 454:23-455:16

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 1    sufficient firm-level information is available to compute wage share; and (3) it is possible to
 2    ascribe a measurable part of a firm’s revenue to the activities of a particular worker or group of
 3    workers. Id. ¶¶ 6, 31. Professor Manning includes no citation for his assertion that labor
 4    economists use wage share under these three circumstances. At his deposition, he made clear that
 5    he has never seen these three factors included in any published work. Ex. 10, Prof. Alan Manning
 6    2/8/18 Dep. (“Manning Dep.”) 33:13-39:19. Instead, he combined individual ideas from various
 7    works and put together a “particular combination which [he] chose to be appropriate to this case.”
 8    Id. 37:3-18. Professor Manning also concluded the three factors were met in this case because of
 9    his belief that the “marginal revenue product of an MMA fighter is plausibly proportional to event
10    revenue.” Manning Rep. ¶ 24. The basis for Manning’s opinion is his belief that athletes are the
11    key driver of event revenue because “fighters are people with media articles written about them,
12    and often Wikipedia pages.” Id. Professor Manning reviewed no record evidence or deposition
13    testimony and cites only one article about a boxing match in support of his opinion. Manning
14    Rep. ¶ 27, n.28; Manning Dep. 70:24-71:16.
15                                               ARGUMENT
16       I.      Dr. Singer’s Impact and Damages Regression Models Should be Excluded.
17               A. Dr. Singer Relies on a Novel and Untested Theory for Injury and Damages.
18                   1. Wage Share Is Not A Reliable or Widely Accepted Method for Evaluating
                        Antitrust Impact or Damages.
19
              Dr. Singer uses an untested regression methodology to attempt to prove impact and
20
      damages in this case. Rather than measure actual compensation—the standard method used by
21
      economists in the field and accepted by courts—Dr. Singer uses wage share as the dependent
22
      variable in his regression to diagnose the existence of alleged anticompetitive activity and assess
23
      the degree of antitrust injury and damages. Dr. Singer’s use of wage share to measure damages is
24
      untested and neither he nor Plaintiffs’ rebuttal labor economist, Professor Manning, identified a
25
      single independent source using the wage share as the dependent variable in a regression in an
26
      antitrust case. Singer Dep. I 114:1-18, 118:15-21; Manning Dep. 121:2-13. Dr. Singer even
27
      argued at his deposition that antitrust damages are not a “topic that is going to get a lot of
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 1    attention by economists in peer reviewed journals.” Singer Dep. I at 113:3-23. Even if wage
 2    share were being used in regressions in the field of economics, there is no previous case in the
 3    field of economics or a court relying on a regression that shows a relationship between “wage
 4    share” and a regressor (in this case, “foreclosure share”) when the same regressions show no
 5    relationship between actual wages and that regressor.
 6           Wage share is a ratio: the percentage of event revenue paid to athletes as compensation.
 7    Wage share says nothing about the actual compensation of athletes. Actual compensation is what
 8    matters: compensation earners are not better off taking 50% of $10 than 15% of $100. The same
 9    is true of price fixing cases. Damages and injury are estimated in price fixing cases based on
10    regressions testing the effect of conduct on actual prices, not on the percentage of product prices
11    to revenues. E.g. In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D. 583, 601 (N.D. Cal.
12    2010) (plaintiffs’ expert using “regression analysis to examine the determinants of panel prices”
13    and to examine “the variation in transaction prices” resulting from the allegedly anticompetitive
14    price fixing conspiracy); In re Cathode Ray Tube (CRT) Antitrust Litig., 308 F.R.D. 606 (N.D.
15    Cal. 2015) (plaintiffs’ expert “conducted a regression analysis of the relationship between CRT
16    prices, market demand and supply variables, and the presence of the conspiracy to estimate the
17    impact of the alleged conspiracy on prices while holding constant supply-demand effects. This
18    ‘reduced form’ model is widely used by economists”).
19           Zuffa’s economists Professors Topel and Oyer recognize that the standard way to evaluate
20    compensation in an allegedly monopsonized labor market is by running regressions using the
21    actual compensation, not wage share, as the dependent variable. Topel Rep. ¶ 127; Oyer Rep. ¶
22    30. This is the standard methodology that has been accepted by courts in many cases. E.g. Reed
23    v. Advocate Health Care, 268 F.R.D. 573, 581-598 (N.D. Ill. 2009) (considering actual
24    compensation, not wage share, in evaluating monopsony claims); In re High-Tech Employee
25    Antitrust Litig., 289 F.R.D. 555, 558 (N.D. Cal. 2013). Dr. Singer fails to use the standard
26    methodology, likely because using levels of compensation as the dependent variable in his
27    regression shows no impact on damages (which Plaintiffs’ experts Dr. Singer and Professor
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 1    Manning do not dispute). Topel Rep. ¶¶ 146-48, Ex. 13; Manning Dep. 142:13-143:3; Singer
 2    Dep. I 295:6-296:8.
 3             No court previously has accepted a regression analysis of anticompetitive effect or
 4    damages using wage share as the dependent variable. Dr. Singer cites a single case (Arizona
                      5
 5    Travel Nurses) where the expert used the wage share method—and he was that expert. Dr.
 6    Singer used wage share because the travel nurses there, unlike UFC athletes, were paid a
 7    “percentage of their billings”—that is, actual compensation was specifically determined as a share
 8    of revenue. Singer Rebuttal ¶ 89, n.318. In that antitrust case, Johnson v. Arizona Hospital &
 9    Healthcare Ass’n, 2009 WL 5031334 at *7-8, the court concluded that class certification was
10    appropriate as to only one class (per diem nurses), but not the other (traveling nurses) class based
11    on Dr. Singer’s wage share method. The court came to that conclusion for reasons that did not
12    require the court to evaluate the validity of the wage share method.
13             Dr. Singer does not cite a single academic source from a peer reviewed journal using
14    wage share as he does—as the dependent variable in a regression to diagnose the existence of
15    alleged anticompetitive activity and assess the degree of antitrust injury and damages. At most,
16    Dr. Singer cites articles that reference the share of wages that athletes receive. For example, Dr.
17    Singer relies heavily on what he describes as the “pioneering” work of Gerald Scully in a 1974
18    article on Major League Baseball. Singer Rebuttal ¶ 94. However, Scully does not use wage
19    share as the dependent variable in his regression. He uses salary, just as Professor Topel did and
                                                                             6
20    as Professors Topel and Oyer explain is the widely accepted method. (Scully also attempts to
21    estimate players’ marginal revenue product of labor, and then compares that to players’ salaries
22    using a ratio; but the regressions Scully runs do not use wage share as the dependent variable).
23    Dr. Singer erroneously claims that the articles he cites in his rebuttal report used regression
24    analysis with labor share of revenue as the dependent variable in measuring the anticompetitive
25

26    5
          Johnson v. Arizona Hosp. & Healthcare Ass’n, No. CV07-1292-PHX-SRB (D. Ariz. 2009).
27    6
       Ex. 11, Gerald Scully, Pay and Performance in Major League Baseball, 64 Am. Econ. Rev.
28    915, 926 (1974) .

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 1    effect, impact, or damages resulting from monopsonistic conduct. Singer Rebuttal ¶¶ 103-04;
                                                              7
 2    Singer Dep. II 487:14-22; 498:22-500:2. They do not.
 3           The fundamental difference between many of the articles that Dr. Singer cites regarding
 4    wage share and his approach is that the articles attempt to analyze the impact of an observed
 5    change in monopsony power whereas Dr. Singer attempts to infer the existence of monopsony
 6    power using wage share. A fatal flaw in Dr. Singer’s approach is that wage share can decline as
 7    foreclosure share rises as a result of entirely procompetitive conduct unrelated to the assertion of
 8    monopsony power. For example, if Zuffa succeeds in promoting MMA, its brand and its events,
 9    Zuffa’s event revenue would increase and it would attract more athletes. Even though actual
10    compensation to athletes goes up, compensation as a fraction of revenue will decline because
11    revenues rise faster than compensation. Wage share masks the rising compensation of athletes by
12    tying it to event revenue which can increase as a result of procompetitive efforts by Zuffa. To
13    establish monopsony power, Dr. Singer must be able to reject procompetitive reasons his
14    regression would show identical results—i.e., rising foreclosure levels leading to a decline in
15    wage share—which he has not even attempted to do. Singer Dep. I 119:8-24.
16           In addition, references to wage share in other contexts do not support the use of wage
17    share to evaluate the existence of monopsony power. Zuffa, for example as Dr. Singer points out,
18
      7
19      Singer Rebuttal ¶ 104 n. 370 (citing David Autor, David Dorn, Lawrence Katz, Christina
      Patterson, and John Van Reenen, Concentrating on the Fall of the Labor Share, 107 Am. Econ.
20    Rev.: Papers & Proceedings 180 (2017) [Ex. 12] (considering both procompetitive and
      anticompetitive hypotheses, devise a test to distinguish between the two, and concluding that a
21    decline in labor share has been driven by procompetitive activity)); id. ¶ 94 (citing Scully, Pay
      and Performance, 64 Am. Econ. Rev. 915 (no regression with wage share as the dependent
22    variable)); id. ¶ 95 (citing Gerald Scully, Player Salary Share and the Distribution of Player
      Earnings, 25 Managerial and Decision Economics 77 (2004) [Ex. 13] (no regression with labor
23    share as the dependent variable)); id. ¶ 103 n.367 (citing Sabien Dobbelaere & Jacques Mairesse,
      Panel Data Estimates of the Production Function and Product and Labor Market Imperfection,
24    28 J. of Applied Econometrics 1 [Ex. 14] (no regression with wage share as the dependent
      variable)); id. ¶107 n.395 (citing Jan De Loecker & Jan Eeckhou, The Rise of Market Power and
25    the Macroeconomic Implications, Working Paper (August 24, 2017),
      http://www.nber.org/papers/w23687 [Ex. 15] (no analysis of market power and referring to
26    labor’s share of income but performing no test applying this share to increases in price markup));
      id. ¶¶ 105 n.379, 107 nn. 396-98 (citing Michael W.L. Elsby, Bart Hobijn, and Aysegul Sahin,
27    The Decline of the U.S. Labor Share, Brookings Papers on Economic Activity, 1-42 (2013) [Ex.
      16] (examining the drivers of the labor’s share of income but without considering the impact of
28    monopsony power)).

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 1    sometimes compares its compensation costs as a share of revenue. Singer Rebuttal ¶ 108. It is
 2    not surprising that labor costs, like any other cost item, are sometimes examined as a percentage
 3    of firm revenues to understand their significance. This type of commonplace business evaluation
 4    of a cost structure—one that is unrelated to examining whether a firm has market power—is not
 5    probative of whether wage share is an appropriate or reliable scientific method for evaluating
 6    monopsony power.
 7            Similarly, Dr. Singer cites to a 2009 paper by Zuffa expert Professor Topel that makes
                                                     8
 8    reference to wage share. Singer Rebuttal ¶ 90. The 2009 paper involved the negotiations
 9    between the union representing NFL athletes and the NFL where the bargaining parties negotiated
10    revenue sharing, which is not the same as a scientific examination of the effects of a monopsony
                          9
11    in an antitrust case.
12            On rebuttal, Plaintiffs retained Professor Alan Manning, a labor economist, to attempt to
13    justify Dr. Singer’s use of wage share by offering an opinion on the use of wage share in the labor
14    economics community. Professor Manning’s report discusses the unfamiliar and untested
15    methodology that Dr. Singer chose. Professor Manning opines that labor economists might use
16    wage share to evaluate compensation when three circumstances exist: (1) the goal is to compare
17    compensation to marginal revenue product; (2) sufficient firm-level information is available to
18    compute wage share; and (3) it is possible to ascribe a measurable part of a firm’s revenues to the
19    activities of a particular worker or group of workers. Manning Rep. ¶¶ 6, 31. Professor Manning
20    includes no citation for his “three circumstances” standard because, as he confirmed at his
21    deposition, no economic support for this standard exists. Manning Dep. 33:13-39:19. Instead,
22    Professor Manning explains: “what I’m doing here is taking well-established ideas individually
23    and drawing on ideas from established work, well-established, and combining them in a way that
24
      8
25     Citing Kevin Murphy & Robert Topel, “The Economics of NFL Team Ownership,” Chicago
      Partners (2009) [Ex. 17].
26    9
       The purpose of the study was to determine whether the NFL could afford to pay players the
27    amounts set forth in the previously agreed-upon 2006 extension of the Collective Bargaining
      Agreement (“CBA”)—it was a study about business costs and revenue, not about how much (or
28    what proportion of revenue) athletes should be paid or whether monopsony power existed.

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 1    is appropriate for this case.” Id. 38:12-20; see also id. 37:8-18. Professor Manning’s testimony
 2    confirms that he has created a new standard expressly for the purposes of this litigation as to
 3    when wage share is appropriate to evaluate compensation. This standard has not been published
 4    in economic literature, subjected to peer review, and has not been tested in other contexts. In
 5    short, it is the type of “unsubstantiated and undocumented information [that] is the antithesis of
 6    the scientifically reliable expert opinion admissible under Daubert and Rule 702.” Cabrera, 134
 7    F.3d at 1423 (citation omitted). That Plaintiffs had to retain a rebuttal expert to come up with a
 8    previously unwritten standard to justify the use of wage share in this case illuminates the
 9    obscurity of Dr. Singer’s chosen technique.
10
                     2. Dr. Singer Relies on an Assumption That Cannot be Tested to Justify the Use
11                      of His Econometric Model.
12           Dr. Singer premises his application of the methodology on an argument advanced in his
13    rebuttal report and supported by Plaintiffs’ expert Manning as “plausible.” No matter what
14    justification is given for the method, the regression analysis Dr. Singer advances has not been
15    endorsed by any court or leading journal. But in defending his premise for this untested method,
16    Dr. Singer admitted he was unaware of any studies measuring the Marginal Revenue Product of
17    Labor (“MRPL”) using a percentage of revenues of a firm. Singer Dep. I 118:15-21. Even his
18    justification for the method rests on an untested assumption.
19           Dr. Singer explains that the appropriate way to measure damages is to compare athletes’
20    compensation to their MRPL. The MRPL is, according to Dr. Singer, the value of the additional
21    output created when a firm adds a worker. Singer Dep. I 115:21-116:3; Singer Rebuttal ¶ 8.
22    According to Dr. Singer, the difference between actual compensation the MRPL, which is what a
23    worker would be paid in a perfectly competitive labor market, is an appropriate measure of
24    damages. Singer Rebuttal ¶¶ 36, 38.
25            Dr. Singer does not measure (or attempt to measure) MRPL. Singer Dep. II 433:13-
26    434:1. Instead, Dr. Singer assumes that event revenue is a reasonable proxy for MRPL, and thus
27    swaps event revenue for MRPL in his equations. Singer Rebuttal ¶ 8. Professor Manning does
28    not go so far, and can only conclude that the relationship between event revenue and MRPL is
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 1    “plausible” and because the relationship is “plausible,” Professor Manning concludes that Dr.
 2    Singer’s method is “reasonable.” Manning Report ¶ 24; Manning Dep. 92:17-94:2. As Dr.
 3    Singer admits, “MRP is not directly observable.” Singer Rep. ¶ 8; see also Ex. 18, Rebuttal
 4    Report of Andrew Zimbalist ¶ 30 (“there is no accepted way to empirically measure MRP of
 5    labor in the economics literature”); Manning Rep. ¶ 14. If MRPL is not directly observable, and
 6    there is no accepted way to empirically measure it, there is no way to test whether it equals or
 7    even reasonably approximates event revenue. The entire basis for employing the wage share
 8    method—that MRPL is a reasonable proxy for event revenue—therefore cannot be tested. Even
 9    if the method were previously known, a method premised on an untestable assumption is not
                                                                                                   10
10    reliable, not based upon sufficient facts and data, and should be excluded under Rule 702.
11           To support his assumption, Dr. Singer asserts that the “vast majority of event revenue is
12    attributable to the fighters” based on one article he cites in his report. Singer Dep. 441:10-19;
13    Singer Rep. ¶ 28 & n.56. Dr. Singer would have a jury believe based on this lone article that the
14    vast majority of Zuffa event revenue will be earned regardless of Zuffa’s promotional efforts, the
15    quality of its television production, management, matchmaking decisions, or other drivers of a
16    quality event. In actuality, the article concludes only that individual athletes are more important
17    than the titles for which they are competing in estimating the number of PPV purchases (not event
18    revenue). Ex. 19, Richard McGowan & John Mahon, Demand for the Ultimate Fighting
19    Championship: An Econometric Analysis of PPV Buy Rates, 6 J. Bus. &. Econ. 1032, 1046
20    (2015) (“The most important takeaway is that the identities of the fighters competing matter more
21    than any title they would be competing for”). There is no published economic analysis which
22    actually shows that the vast majority of event revenue is tied to fighters. Dr. Singer offers no
23    support for this statement from MMA promoters and he disregards contrary testimony. Dep. of
24    Carlos Silva 169:2-9 (CEO of World Series of Fighting, now Professional Fighters League)
25    10
        Dr. Singer has been criticized in the past for his choice of data inputs in his regressions, which
26    led to an unwarranted finding of impact. In re Photochromic Lens Antitrust Litig., No. 8:10-cv-
      00984-T-27EA, 2014 WL 1338605, at *24 (M.D. Fla. Apr. 3, 2014) (magistrate judge “faulted
27    Dr. Singer for using ‘price card’ data” rather than actual transactional data which, when used,
      showed that only two of fourteen lens casters were found to have been impacted by the alleged
28    anticompetitive conduct”).

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 1    (disagrees with the statement “better known fighters in terms of consumer awareness generally
 2    attract more viewers” because “it’s unclear what attracts more viewers”).
 3           Dr. Singer also has not attempted to replicate or validate the regression work in the article.
 4    Singer Dep. II 448:17-449:4 (admitting that he did not “obtain a copy of [the article’s] data set in
 5    an attempt to replicate any of their work”). The article also shows that other factors other than the
 6    athletes play an important role in event revenue. For example, the authors conclude that “the
 7    higher the ratio of free to PPV UFC events, the higher the buy rate will be for the PPV events.”
 8    Id. at 1046. Zuffa’s promotional investments in staging these free events, despite the lack of PPV
 9    revenue, actually contribute to and drive event revenue at PPV and other events. This and other
10    conclusions suggest that Zuffa’s promotional efforts, not merely athlete identity, drive PPV buys.
11           Dr. Singer’s assertion that “the vast majority of event revenue is attributable to fighters”
12    also stands in stark contrast to every other one of Plaintiffs’ and Zuffa’s experts in this matter, all
13    of whom state that other inputs, such as management, television production quality, promotion,
14    and brand or team loyalty all have significant impacts on event revenue. Zimbalist Dep. II 124:3-
15    125:19; Zimbalist Rebuttal ¶ 27; Topel Report ¶¶ 126, 134; Ex. 21, Dep. of Prof. Roger Blair
16    (“Blair Dep.”) 302:1-303:22; Manning Dep. 64:22-64:10. As Professor Blair demonstrates,
17    changes in market conditions, such as changes in supply or demand that are unrelated to
18    competition for labor can change the percentage of event revenue that would be paid to athletes.
19    Ex. 22, Expert Rep. of Prof. Roger Blair (“Blair Rep.”) ¶¶ 43-48. Furthermore, as Professors
20    Topel and Oyer both note, changes in the respective contribution of each input to event revenue
21    will affect the percentage of event revenue athletes would be expected to receive in a world where
22    there is no change to competition for the purchase of athlete services. Topel Rep. ¶¶ 32, 130,
23    133-138; Oyer Rep. ¶¶ 36-37. For example, if Zuffa increases its advertising and generates more
24    viewers, wage share would decrease, but through a purely procompetitive effect.
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28                     By excluding factors that drive event revenues other than athlete pay, Dr. Singer
                                                    19
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 1    is not able to reliably estimate injury or damages. Topel Rep ¶¶ 134, 142, 224; see also Singer
 2    Dep. I. 120:1-121:21 (admitting that promotional investments can drive interest in MMA events
 3    and he did not do actual study of contribution of athletes to event revenue).
 4               B. Dr. Singer Assumes Market Foreclosure, He Does Not Prove it.
 5           Dr. Singer’s method of assessing differences in compensation (regardless of whether it is
 6    measured by wage share or actual compensation) is also unheard of because he is testing whether
 7    30-month exclusive contracts affect compensation, not competition. The only link that Dr. Singer
 8    makes between such contracts and competition is his label “foreclosure.” Foreclosure is not an
 9    output of the regression analysis; it is an input from Dr. Singer that gets “spit out” of a Microsoft
10    Excel file. Singer Dep. I 39:1-9, 40:4-41:21. “The regression doesn’t get to specify the
11    foreclosure share, just as the regression doesn’t get to specify how many punches a fighter
12                          11
      threw.” Id. 38:15-19.
13           The foreclosure share is an input to Singer’s regressions and not the result of his
14    regressions. Singer Dep. 39:1-4. Any other contracted provisions also present in the standard
15    Zuffa promotional agreement, including the choice of law clause, if inputted in the regression
16    would produce the same mathematical results as an input to the regressions. Dr. Singer disagrees
17    with the validity of this point, but could not at his deposition deny that it was mathematically true.
18    Singer Dep. I 178:15-179:7.
19           Dr. Singer’s regressions assume that 30-month contracts are anticompetitive without
20    demonstrating that they actually are anticompetitive or have any effect on the market share of
21    Zuffa or its competitors. The “foreclosure share” is just the weighted fraction of athletes in each
22    market who are signed to exclusive Zuffa contracts of 30-months in duration (with a champion’s
23    clause). No economic analysis by Dr. Singer measures the effect of these contracts on the market
24
      11
25      To justify his foreclosure specification, Dr. Singer does a faulty analysis of the average
      duration of a Zuffa athlete’s career. Singer Rep. ¶ 90; Singer Rebuttal ¶ 64. His initial approach
26    artificially limited a “career” to bouts in his Tracked market (not an athlete’s entire professional
      career) and his rebuttal approach calculates average career length by including both Zuffa athletes
27    and those athletes who have never competed with Zuffa. But, regardless of the duration of an
      athlete’s career, Singer nowhere demonstrates that Zuffa’s market share is caused by 30-month
28    exclusive contracts.

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 1    share of Zuffa or its competitors. The foreclosure share, according to Dr. Singer, is even
 2    “agnostic to the market share . . . just to be clear, you can have a high market share and zero
 3    foreclosure share.” Singer Dep. I 42:5-18.
 4           Dr. Singer has even admitted that he assumed that the legal durations of the contracts in
 5    this case will be established by the court and that he believes he has set foreclosure shares
 6    consistent with past court cases. Singer Dep. II 370:23-372:1. He asserted that he was “familiar
 7    with various case law that speaks to what constitutes a contract of sufficient duration to be
 8    considered exclusionary.” Singer Dep. I 152:1-9. (Singer is also wrong because courts do not
                                                                     12
 9    hold that 30-month exclusive contracts are anticompetitive).        Dr. Singer explained his method
10    for determining the duration of an anticompetitive contract as follows: “It’s tautological. It
11    depends on where you draw the cutoff.” Id. 44:16-45:12. Dr. Singer’s impact and damage
12    regression analyses are intended only to measure what happens if Zuffa contracts have a shorter
13    duration than “some level that a Court would deem exclusionary.” Singer Dep. II 375:7-376:12.
14    “It’s going to depend on where the Court would draw the line.” Id. 376:13-24. Dr. Singer even
15    admitted that his injury and damages estimates would be the same if the court ruled that exclusive
16    contracts of two years or less were legal because the court’s definition would automatically be the
17    “foreclosure share” in his regression. Id. 384:22-386:9. Again, Singer explained that his
18    foreclosure analysis is “almost tautological.” Id. 385:7-17.
19

20

21    12 E.g. Arminak & Assocs., Inc. v. Saint-Gobain Calmar, Inc., 789 F. Supp. 2d 1201, 1203, 1212
      (C.D. Cal. 2011) (granting partial summary judgment dismissing claim that defendant used
22    exclusive dealing contracts to monopolize a market where the contracts required purchasers to
      purchase a full line of products exclusively for “three (3) or five (5) years”; the contracts were
23    part of “lawful and procompetitive conduct”); see also Woman’s Clinic, Inc. v. St. John’s Health
      Sys., Inc., 252 F. Supp. 2d 857, 869-72 (W.D. Mo. 2002) (granting summary judgment in a
24    Sherman Act action alleging anticompetitive conduct through the use of exclusive contracts and
      finding that an exclusive dealing contract of five-years was reasonable); Indeck Energy Servs.,
25    Inc. v. Consumers Energy Co., 250 F.3d 972 (6th Cir. 2000) (affirming grant of summary
      judgment on plaintiff’s antitrust action which alleged injury as a result of defendant’s exclusive
26    contracts of five to ten years with nineteen facilities); Spinelli v. Nat’l Football League, 96 F.
      Supp. 3d 81, 117 (S.D.N.Y. 2015) (holding NFL’s exclusive licensing agreements of three years
27    “do not foreclose competition and are not anticompetitive as a matter of law”).
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                                                    21
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 1           Other courts have excluded the testimony of Dr. Singer where it was based on his “legal
 2    musings” and “legal opinions.” King Drug Co. of Florence, Inc. v. Cephalon, Inc., 2015 WL
 3    12645766 n. 21 & 22 (E.D. Pa. 2015). Here Dr. Singer’s regressions establish estimates of injury
 4    and damages expressly based on his legal assumptions about the legality of 30-month contracts,
 5    rather than evidence of any anticompetitive effect of those contracts.
 6           Dr. Singer’s testimony has also been criticized previously because of what he has done in
 7    this case: slapping the label of “foreclosure” on conduct without actual analysis. In Mazda, the
 8    court found that a reasonable jury could not rely on Dr. Singer’s foreclosure analysis in an
 9    antitrust case concerning vehicle history reports (VHRs). 2016 WL 7231941, at *12. In that
10    case, similar to what he does here, Dr. Singer estimated a “foreclosure share” based on dividing
11    the number of VHRs implicated by exclusive agreements as a share of all VHRs. The court
12    found that Dr. Singer was missing data, but the court also saw through his attempt to assume his
13    own conclusions about the extent of foreclosure of competition:
14           Finally, there is an additional flaw in Dr. Singer’s foreclosure conclusion—
             namely, that Dr. Singer assumed that all of the “exclusive” CPO Agreements
15           foreclosed competition. See Singer Rep. ¶ 55. As this Court has held, however,
             no reasonable jury could find that the majority of the CPO Agreements were of a
16           sufficient duration to foreclose competition. Accordingly, no reasonable jury
             would include VHR sales resulting from these short-term CPO Agreements in its
17           assessment of the share of the VHR market that the CPO Agreements foreclosed.
             While the Court cannot say at summary judgment precisely how much correcting
18           for this error would affect Dr. Singer’s analysis, a reasonable jury would have to
             conclude that this omission artificially inflated the 30% foreclosure estimate he
19           provided.
20    Id. at *13. Other courts have also excluded Dr. Singer’s testimony for assuming, as he does in
21    this case, his own conclusions. In Apotex, the court excluded testimony of Dr. Singer in a
22    pharmaceutical antitrust case where “Dr. Singer essentially admits that he is unaware of any
23    factual basis to support a scenario where the Generic Defendants would agree to forfeit their 180
24    days of exclusivity.” 321 F.R.D. at 235. Similarly, that court excluded a calculation of Dr.
25    Singer that “measures lost profits in excess of those stemming from the alleged anticompetitive
26    activity.” Id.; see also In re Florida Cement & Concrete Antitrust Litig., 278 F.R.D. 674, 685
27    (S.D. Fla. 2012) (holding that Dr. Singer offers no methodology for determining whether pass-
28
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 1    through actually occurred; instead, he assumes “the pass through rate would typically be one
 2    hundred percent”).
 3               C. Dr. Singer Includes Improper Data in His Regression.
 4           Dr. Singer includes irrelevant data from a non-Zuffa company in his impact regression.
 5    Although Dr. Singer is attempting to determine whether Zuffa’s alleged exercise of monopsony
 6    power affected Zuffa athletes’ compensation, he runs a regression that includes data from another
 7    MMA company, Strikeforce (before Zuffa acquired it), in his regression model. Singer Rep. ¶
 8    181, n.452.
 9                           Singer Rep. ¶¶ 245, 248, 250, 252.
10           As a theoretical matter, it does not make sense to include data on the wage share of non-
11    Zuffa athletes—from a different company, of a different size, with different skills, and a different
12    business model—into a regression attempting to determine if Zuffa’s alleged exertion of
13    monopsony power impacted Zuffa athletes’ compensation. Topel Rep. ¶¶ 152-154; Topel Dep.
14    Tr. 311:4-6.
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24                                                                                                For this
25    reason, including pre-acquisition Strikeforce bouts in his regression model is the primary and
26    artificially manufactured cause of the negative relationship Dr. Singer “measures” between
27    athlete compensation as a share of event revenue and “foreclosure share.”
28
                                                    23
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 1         II.      Dr. Singer’s Other Opinions Related to Damages Analysis Should Be Excluded.
 2                  A. Dr. Singer Fails to Properly Define a But-For World
 3               To demonstrate antitrust injury, parties are “required to construct a hypothetical market, a
 4    ‘but for’ market, free of the restraints and conduct alleged to be anticompetitive.” Concord Boat
 5    Corp. v. Brunswick Corp., 207 F.3d 1039, 1055 (8th Cir. 2000) (citation omitted). In such a
 6    “hypothetical economic construction,” “economic rationality must be assumed,” as “Otherwise it
 7    will be impossible to keep speculation in check.” Murphy Tugboat Co. v. Crowley, 658 F.2d
 8    1256, 1262 (9th Cir. 1981). In addition, “expert testimony cannot substitute for market facts—
 9    and cannot defeat them, when the facts themselves render plaintiffs’ theory of injury
10    unreasonable.” In re Online DVD Rental Antitrust Litig., No. M 09-2029 PJH, 2011 WL
11    5883772, at *15 (N.D. Cal. Nov. 23, 2011), aff’d sub nom. In re Online DVD-Rental Antitrust
12    Litig., 779 F.3d 914 (9th Cir. 2015). The but-for world must show that the Challenged Conduct
13    caused the damages by demonstrating that absent the Challenged Conduct, those damages would
14    not have been incurred. In re Rail Freight Fuel Surcharge Antitrust Litig., No. MC 07-0489,
15    2017 WL 5311533, at *58 (D.D.C. Nov. 13, 2017).
16                      1. Dr. Singer Fails to Define a But-For World That Establishes Causation.
17               Dr. Singer concedes that identifying the but-for world is a necessary predicate to
18                            13
      estimating damages, but he failed to evaluate injury or damages for the different types of
19    conduct he identifies as included within the Challenged Conduct. Singer Dep. I 20:12-21:5;
20    Singer Rep. § III. Dr. Singer’s report and occasional testimony defines his but for world as a
21    world without the conduct challenged in Plaintiffs’ Complaint. Singer Rebuttal ¶ 188; Singer
22    Dep. II 399:15-20; 400:19-401:2. But his models for establishing antirust injury and estimating
23    damages employ a but-for world where “the restrictions on fighter mobility are lessened
24    sufficiently so as to permit 30, 20, or zero percent foreclosure shares and there’s a lot of ways that
25    you can get there.” Singer Dep. I 181:11-181:20.
26
      13
27       Singer Dep. II 400:9-401:2 (“I think if it’s part of the Challenged Conduct and if plaintiffs are
      including that in the Challenged Conduct, then we are – as economists, what we are trying to do
28    is model a world in which the Challenged Conduct is absent.”)

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 1           Dr. Singer conducted no econometric or other qualitative analysis to determine how the
 2    many specific items of Challenged Conduct in the Complaint, if they no longer existed, would
 3    reduce foreclosure share would change in the but-for world absent the Challenged Conduct.
 4    Singer Dep. II 367:19-368:15, 370:2-371:13. For example, other than shorter contracts, Dr.
 5    Singer could not say if the ancillary rights provision and specifically the ability for Zuffa to
 6    contract for the identity rights of athletes for a specific bout in perpetuity challenged in the
 7    Complaint would continue in the but-for world. Singer Dep. II 401:11-19. Instead, Dr. Singer
 8    testified that he specified his injury and damages model with 0%, 20% and 30% foreclosure
 9    shares because:
10           Those levels, as I explained a few minutes ago, are levels that I thought a Court
             would deem at least not anticompetitive based on my understanding of precedent
11           in the similar cases. So I think that’s where the zero, 20 and 30 percent come
             from, let’s just be clear. It’s not – it’s not from anywhere else. We are trying to
12           find a level of foreclosure that would be deemed not anticompetitive by a Court.
13    Id. 370:23-371:13. Dr. Singer also does not identify with specificity what Zuffa would have done
14    differently in the but-for world that would have caused this reduction. He testified that there were
15    multiple but-for worlds that might have reduced Zuffa’s share, Singer Dep. I 47:10-21, Singer
16    Dep. II 374:15-22, and that there are “lots of ways that you could restructure the contract” to
17    reduce Zuffa’s share. Singer Dep. II 378:12-379:10.
18           In his rebuttal report, Dr. Singer vaguely describes the but-for world as one with
19    “enhanced mobility” and “an easier and more certain route to free-agency.” Singer Rebuttal ¶
20    198. Nowhere does Dr. Singer define what Zuffa would have done differently in his but-for
21    world such that compensation would have been higher than what the Plaintiffs and putative class
22    plaintiffs received. Dr. Singer testified that in thinking about what contracting the but-for world
23    would look like “you could go to boxing as an example.” Singer Dep. II 356:4-15.
24

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 1    Without knowing how the but-for world is different from the real world, it is impossible to know
 2    what caused Plaintiffs’ alleged injury. In re Pharmacy Benefit Managers Antitrust Litig., No. CV
 3    03-4730, 2017 WL 275398, at *20 (E.D. Pa. Jan. 18, 2017), reconsideration denied, No. CV 03-
 4    4730, 2017 WL 1493029 (E.D. Pa. Apr. 26, 2017) (“In the context of Daubert, the failure to
 5    match the damages model to the theory of antitrust impact renders the expert opinion unfit”).
 6                    2. Dr. Singer Assumes an Irrational Economic World.
 7            Dr. Singer does assume in his otherwise vague but-for world, that Zuffa’s exclusive
 8    contracts only last 12 months or less. Singer Rebuttal ¶ 198. With respect to these 12-month
 9    contracts, Dr. Singer further assumes that if an athlete wanted to compete for another promoter
10    during that 12-month period, the athlete would be permitted to do so. Singer Dep. II 392:22-
11    393:5. If an athlete is free to compete for another promoter during the term of the contract, then
12    by definition the contract is not actually exclusive. Assuming the but-for world consists of short
13    term non-exclusive contracts means assuming a vastly different market structure than any
14    successful promoter uses today. This strays from assuming “economic rationality” in the but-for
15    world and ignores “market facts” that “render plaintiffs’ theory of injury unreasonable.” In re
16    Online DVD Rental Antitrust Litig., 2011 WL 5883772, at *15. It also prohibits Zuffa from using
17    contracts which the Ninth Circuit acknowledges have “well-recognized economic benefits . . .
18    including the enhancement of inter-brand competition.” Allied Orthopedic Appliances Inc. v.
19    Tyco Health Care Grp., 592 F.3d 991, 996 (9th Cir. 2010) (quoting Omega Envtl., 127 F.3d at
20    1162). Dr. Singer’s opinions have been excluded in the past for unsupported assertions regarding
21    how a business would treat its exclusivity rights in the but-for world. Apotex, 321 F.R.D. at 235
22    (“I agree with Defendants that the record does not support Dr. Singer’s assertion that the Generic
23    Defendants would have agreed to stay off the market through 2012, while simultaneously
24    forfeiting their first filer right of 180 days exclusivity”).
25    //
26    //
27    //
28    //
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 1               B. Dr. Singer Does Not Apply the Correct Methodology to his Assessment of
                    Strikeforce and Bellator Benchmarks.
 2
             In addition to Dr. Singer’s estimate of damages based on his regression models, Dr. Singer
 3
      also calculates damages by comparing the wage share of Zuffa athletes to the wage share of two
 4
      other MMA promotions, Strikeforce (now defunct) and Bellator. Singer Rep. ¶¶ 247-48. This
 5
      method is unreliable and should be excluded because Dr. Singer fails to abide by economic
 6
      standards for using a benchmark. Dr. Singer’s damages calculations have been criticized in the
 7
      past for failure to use a proper benchmark. In re Cox Enterprises, 2011 WL 6826813, at *16 (“In
 8
      light of the failure to consider the differences regarding regulations and costs imposed on
 9
      Canadian and American cable providers, the application of the Benchmark method rests on
10
      unstable ground”).
11
             In order to properly apply a benchmark or yardstick standard, Dr. Singer would have to
12
      identify a firm similar to the firm being measured in all material respects but for the impact of the
13
      antitrust violation, and analyze, among other things, if the firms stand in a similar relative
14
      position in their markets, have similar managements, and are comparable in all other
15
      respects. Ex. 23, Herbert Hovenkamp, Federal Antitrust Policy 670 (2nd ed. 1999).
16

17
                                                                                Singer Rep. ¶ 24; Singer
18
      Dep. I 209:20-210:4.
19

20               C. Singer’s Identity Class Damages Calculation is Unreliable and Not Expert
                    Testimony.
21
             In Dr. Singer’s rebuttal report, he concluded that in the but-for world each Identity
22
      Subgroup 2 class member would have received                                                      .
23
      Singer Rebuttal ¶ 169. Dr. Singer does not conduct any expert analysis to reach his conclusion.
24
      All he does is transcribe a dollar value from a document which is not a valid way to assess impact
25
      or calculate damages. Waymo LLC v. Uber Techs., Inc., No. C-17-00939, 2017 WL 5148390, at
26
      *5 (N.D. Cal. Nov. 6, 2017) (excluding expert’s opinion on damages for lack of specialized
27

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 1    knowledge where the expert “simply adopted the opinions of others and performed grade-school
 2    arithmetic counsel can do on an easel” and where the record evidence “can speak for itself”).
 3       III.      Singer’s Definition of Relevant Input and Output Markets Should Be Excluded.
 4              Market definition is “indispensable to a monopolization claim.” Morgan, Strand, Wheeler
 5    & Biggs v. Radiology, Ltd., 924 F.2d 1484, 1491(9th Cir. 1991) (quoting Thurman Indus. v.
 6    Pay’N Pak Stores, 875 F.2d 1369, 1373 (9th Cir. 1989)); see also Cont’l T. V., Inc. v. GTE
 7    Sylvania Inc., 433 U.S. 36, 53 n.21 (1977) (“an antitrust policy divorced from market
 8    considerations would lack any objective benchmarks”).
 9
                   A. Singer Fails to Use the Correct Methodology under the Merger Guidelines to
10                    Define Input Markets.
11              Under the Merger Guidelines, market definition for an input market requires a “focus on
12    the alternatives available to sellers.” Horizontal Merger Guidelines §12; see also Todd, 275 F.3d
13    at 204 (“the market is not the market of competing sellers but of competing buyers. This market is
14    comprised of buyers who are seen by sellers as being reasonably good substitutes.”) (citing Blair
15    & Harrison, supra, at 324). Under the Merger Guidelines, the test for defining an input market for
16    MMA promoters is to assess whether a hypothetical monopsonist could profitably decrease
17    compensation to athletes. If enough athletes would switch to other promoters such that a
18    compensation decrease would not be profitable, those promoters should be included in the
19    market. Under “standard” antitrust analysis, “courts determine the degree to which price
20    increases will cause marginal buyers to turn to other products or marginal suppliers to increase
21    output of the product.” United States v. Oracle Corp., 331 F. Supp. 2d 1098, 1118 (N.D. Cal.
22    2004).
23              Dr. Singer claims that he analyzed “alternatives to which fighters could reasonably
24    substitute,” Singer Rep. ¶ 99, but two sentences later, he defines the market participants by
25    identifying the sellers (athletes)—not buyers (promoters)—that are in the market. Id. (a
26    “hypothetical monopsonist over all” the athletes in each of his three groups—Tracked, Ranked,
27    and Headline—“could profitably exercise monopsony power.”) (emphasis added). By identifying
28    which athletes should be included in the market instead of which promoters are in the market, Dr.
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                                                                                                      15
 1    Singer abandons the use of a SSNIP test to define the market. Singer Dep. II 533:19-534:6.           Dr.
 2    Singer claims that because he includes in his input markets “Fighters associated with non-Zuffa
 3    promoters, these market definitions are likely overbroad and thus conservative,” Singer Rep.
 4    ¶104, but he cannot say whether they actually are overbroad because he has not used a SSNIP test
 5    to assess what promoters should be included in the market.
 6           The Eighth Circuit explained the fallacy of such an approach in the context of defining a
 7    relevant output market to address monopolization claims for cardiology services. Little Rock
 8    Cardiology Clinic PA v. Baptist Health, 591 F.3d 591, 597 (8th Cir. 2009). In that case, the
 9    plaintiff argued that the output market for healthcare services should be limited to customers with
10    private insurance because customers with government insurance were not interchangeable with
11    customers with private insurance. “The trouble with this theory is that it analyzes the issue from
12    the wrong side of the transaction.” Id. (emphasis added) (“from the patients’ perspective, private
13    insurance and Medicare/Medicaid are not reasonably interchangeable. . . . But this lawsuit is not
14    about the options available to patients, it is about the options available to shutout cardiologists”).
15    Here, the relevant question that Dr. Singer failed to ask is whether enough competing promoters
16    who have been denied access to athletes would be able to hire enough athletes to make a price
17    decrease unprofitable.
18
                 B. Singer’s Input Market Definition Analysis is Not Reliable and Lacks Economic
19                  Analysis.
20           Apart from whether Dr. Singer has correctly applied the Merger Guidelines SSNIP test,
21    the question remains whether his novel approach to market definition is appropriate under Rule
22    702 and Daubert. Market definition “generally requires a detailed examination of ‘market data,
23    figures or other relevant material adequately describing the nature, cost, usage or other features of
24    competing products.’” Grason Elec. Co. v. Sacramento Mun. Utility Dist., 571 F. Supp. 1504,
25    15
         “Q [I]n the ranked market, did you test whether fighters in that market would move to another
26    buyer in that market such as World Series of Fighting if their individual pay declined other than
      what you have said, you looked at revenue evidence? A. I would say no. They are – they are
27    already in the ranked market and so we are not looking at substitution within the ranked market.
      That’s not the relevant inquiry.”
28
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 1    1521 (E.D. Cal. 1983) (quoting Morton Buildings of Nebraska, Inc. v. Morton Buildings, Inc.,
 2    531 F.2d 910, 919 (8th Cir.1976)). Dr. Singer has performed no such analysis, instead defining
 3    the markets based on (1) record evidence, Singer. Dep. I 290:6-291:19; and (2) the results of his
 4    impact regression, Singer Dep. I 292:7-294:3. Dr. Singer is wrong on both counts.
 5           Dr. Singer relies on his interpretation of record testimony as sufficient to support his
 6    finding that his two input markets and his submarket are relevant antitrust markets. Singer Rep.
 7    ¶¶ 104-14. The court in Live Concert addressed a similar issue. In that case, the court found that
 8    Dr. Phillips’ (the expert economist’s) only basis for defining a market was his assessment of
 9    “industry recognition.” In re Live Concert Antitrust Litig., 863 F. Supp. 2d 966, 993 (C.D. Cal.
10    2012). The court concluded in that case that “close scrutiny” was necessary to evaluate the
11    expert’s proposed relevant market to ensure that his analysis was “sufficiently robust” to warrant
12    admission under Rule 702 and Daubert. Id. at 986.
13           The court ultimately excluded the expert’s testimony on two grounds. First, the court
14    found a lack of relevant industry expertise:
15           to the extent that Dr. Phillips relied on his own subjective opinion in order to
             determine which performers qualify as “rock” artists, he is not qualified to make
16           this determination. Further, to the extent that Dr. Phillips purported to rely on
             “industry information” in order to categorize the artists at issue, he did not utilize a
17           reliable methodology for interpreting and applying this information.
18    Id. at 994. Second, the court noted that, “a key ingredient missing from Dr. Phillips’ Expert
19    Report is economic analysis (be it quantitative or qualitative) tying these statements by industry
20    observers to Dr. Phillips’ ultimate conclusion that the relevant market is comprised of “‘live rock
21    music concerts.’” Id. at 993.
22           If those same factors are applied to Dr. Singer’s report, it is clear that Dr. Singer’s market
23    definition opinions should be excluded. Dr. Singer has no industry expertise to assess the record
24    evidence he is interpreting and many of his findings reflect a limited understanding of the
25    underlying market dynamics at issue. For example, Dr. Singer concedes that, during the class
26    period, there were at least 213 to 429 promoters with athletes in his “ranked” measure. Singer
27    Rep. ¶ 111. Yet, despite his claim that “nearly all non-Zuffa promoters are small regional outfits
28
                                                    30
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 1    that have none of the top Fighters in any weight class and do not even seek to compete with the
 2    UFC for talent,” id. ¶104, he only provides qualitative descriptions of a handful of promoters.
 3           In other instances, Dr. Singer disregards or was ignorant of contrary record evidence
 4    related to findings he made. For example, a key theory Dr. Singer propounds is that other
 5    promoters “do not have access to a sufficiently deep pool of talented Fighters to provide
 6    competitive matchups to advance a Zuffa Fighter’s career.” Singer Rep. ¶ 104. Dr. Singer fails
 7    to address testimony from third party promoters who testified that they are able to sign talented
 8    athletes. Ex. 24, Dep. of Jeremy Lappen (former executive at EliteXC) 138:13-23; Ex. 25, Dep.
 9    of Scott Coker (former head of Strikeforce, current CEO of Bellator) 131:11-135:9; Ex. 26, Dep.
10    of Thomas Atencio (former V.P. of Affliction) 87:19-24; Ex 27, C. Silva Dep. 204:23-25.
11            In some cases, Dr. Singer’s representations are wholly unfounded. In one case, Dr.
12    Singer claims that Conor McGregor was unable to negotiate favorable contract terms based on a
13    document related to a different fighter, Conor Huen. Singer Rep. ¶ 218; Ex 28, ZUF-00122280
14    (showing title of email is “Re: Conor Huen” and where McGregor is not mentioned in the
15    document). Similarly, he claims that “FightMatrix is recognized by Zuffa itself as an
16    authoritative source of MMA Fighter rankings.” Singer Rep. ¶ 108. But his only citation to
17    support that assertion is to a deposition of one of the named plaintiffs where Zuffa’s counsel was
18    asking Mr. Vazquez whether FightMatrix rankings provide enough information “to tell you
19    whether a fighter was elite or not.” Id. ¶ 108 n.300; Ex. 29, Dep. of Javier Vazquez 67:11-68:23,
20    74:23-75:6. Mr. Vazquez’s response hardly supports the notion that FightMatrix’s rankings are
21    an “authoritative source”:
22           Again, rankings were opinions, some of which some people have them and they
             may or may not know much about the sport. I don’t know who does
23           FightMatrix’s rankings and I don’t know who does a lot of people’s rankings. So
             anybody can say anything.
24    Id.
25           The point to these examples is to highlight Dr. Singer’s lack of unique industry
26    specialization that would otherwise permit more informed understanding of the record evidence.
27    Like Dr. Phillips’ opinion in Live Concert, Dr. Singer’s testimony also lacks the “key ingredient”
28    of “economic analysis (be it quantitative or qualitative) tying these statements by industry
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 1    observers” to his ultimate conclusion that the relevant input markets are comprised of athletes
 2    who are ranked by Dr. Singer. See also Golden Boy Promotions LLC v. Haymon, No. CV 15-
 3    3378-JFW, 2017 WL 460736 (C.D. Cal. Jan. 26, 2017) (holding there was no reliable basis for
 4    expert’s product market of managers of Championship-Caliber boxers in the U.S. where there
 5    was no empirical evidence supporting expert’s opinion and there was contrary record evidence).
 6    Dr. Singer’s market definitions have been excluded in the past for failing to properly define the
 7    scope of the market. Mazda, 2016 WL 7231941, at *12 (excluding Dr. Singer’s opinion in part
 8    because “Dr. Singer’s foreclosure estimate was based on an artificially small figure for Carfax’s
 9    VHR sales, and therefore an artificially small estimate of the overall size of the market”).
10           As to Dr. Singer’s regression analysis, even if his findings were accurate, the argument
11    that his damages regression can define a market is circular: the regression results are meaningful
12    only if the market has been properly defined. Dr. Singer also misconstrues the relevance of the
13    results of his econometric model to market definition. Dr. Singer admitted that he never assessed
14    whether Zuffa suppressed actual athlete compensation during the class period. Singer Dep. I
15    295:6-296:8. Dr. Topel has performed that analysis and concluded that compensation increased
16    for Zuffa athletes throughout the class period. Topel Rep. ¶¶ 169-171, Ex. 17. Even if you
17    ignore the many flaws in his impact regression, Dr. Singer contends that, absent Zuffa’s conduct,
18    wages would have been even higher than the already increasing wages. Such a finding does not
19    act as a SSNIP test of the effect of reductions in wages by Zuffa on the actions of rival promoters.
20    Oracle Corp., 331 F. Supp. 2d at 1118 (test is whether rivals to monopsonist increase output).
21               C. Dr. Singer’s Output Market is Flawed.
22           Dr. Singer states that “[i]n the Relevant Output Market, MMA Promoters are the seller;
23    their customers include viewers, cable networks, broadcast networks, and sponsors.” Singer
24    Rep. ¶ 115 (emphasis added). In sports and entertainment cases, courts have excluded expert
25    testimony when a market definition is too narrow and disregards relevant substitutes. Kentucky
26    Speedway, LLC v. Nat’l Ass’n of Stock Car Auto Racing, Inc., 588 F.3d 908, 916 (6th Cir. 2009)
27    (affirming exclusion of Dr. Zimbalist’s testimony because “he had included only Busch series and
28    open-wheeled races as possible substitutes for attending or watching NASCAR stock-racing
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 1    events but “should have considered other sports – and possibly other forms of entertainment – as
 2    substitutes”). In Kentucky Speedway, the court explained that “[c]orporate sponsors, for example,
 3    could choose to advertise their products in conjunction with another sporting event, and
 4    broadcasters could select non-auto racing programming, or non-sports programming altogether in
 5    lieu of airing a Sprint Cup race.” Id. at 917.
 6             Dr. Singer admits that he did not perform a SSNIP test on behalf of where cable
 7    distributors, sponsors, or cable networks would go in the face of a SSNIP, and looked only to the
 8    substitutability of viewers. Singer Dep. II 551:7-24 (“I was looking as to where viewers would
 9    go in response to a SSNIP in the output market, not where cable distributors would go, not where
10    cable networks would go.”), 544:3-15 (“I don’t recall looking at substitution by sponsors or
11    substitution by cable distributors.”). Dr. Singer’s own admission that he did not look to the
12    substitutability of the other customers he identified in his opening report requires the exclusion of
13    Dr. Singer’s output market definition.
14       IV.      Singer’s Market Share Calculation Is Unreliable and Should Be Excluded.
15             Dr. Singer calculates market shares for purposes of market definition using revenue-
16    weighted athlete shares (to calculate impact and damages, he calculates his “foreclosure” share
17    using revenue weights as well). Singer Rep. ¶¶ 128, 170. Dr. Singer does not simply identify the
18    number of athletes in each of his three market specifications (ranked, tracked, or headliner) and
19    calculate what percentage of those athletes Zuffa has under contract. Instead, Dr. Singer uses a
20    variety of weighting methods which distort an otherwise simple market share exercise. Dr.
21    Singer claims his primary weighting method—by promoter revenue—is meant to control for
22    “differences in average quality.” Singer Rep. ¶ 128. Dr. Singer’s revenue-based weighting
23    system, however, does not calculate quality differences as he claims. Zuffa is more successful at
24    generating event revenues from viewers, networks, and sponsors than other promoters and Dr.
25    Singer’s market definition uses that to inflate Zuffa’s share of the input market of athletes.
26             There is no economically sound basis to use downstream revenue from viewers, networks,
27    and sponsors to weight the shares of the input market and this approach has been explicitly
28    rejected in the Ninth Circuit. In Syufy, the court rejected DOJ’s argument to use the cinemas’ box
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 1    office receipts (i.e., output market revenue) to measure concentration in the purchase of first-run
 2    movies because, like here, cinemas purchase first-run movies with no certainty regarding the
 3    movie’s likely success. 903 F.2d at 666 n.10; see also United States v. Rice Growers Ass’n of
 4    Cal., Civ. No. S–84–1066 EJG, 1986 WL 12562, at *10-11 (E.D. Cal. Jan. 31, 1986) (using
 5    volume of rice purchases to calculate share in an input market). This approach is not used or
 6    accepted in the field of economics and is not found in the Merger Guidelines. Plaintiffs’ own
 7    expert, Dr. Zimbalist, identified the correct approach (which Dr. Singer did not use): “if you
 8    wanted to look at the concentration of purchase of the input, then you would be defining it in
 9    terms of the number of fighters and I think you would also be looking at a weighting of the
10    fighters according to their compensation.” Zimbalist Dep. II 42:14-19; see also id. 43:9-12 (“And
11    then, secondly, you would want to weight it according to the importance of the fighters and that
12    would be the payment to those inputs”).
13           The unreliability of Dr. Singer’s revenue-weighted approach becomes obvious when
14    applied to the real world. For example, according to FightMatrix, the third and fourth-ranked
15    light-heavyweight athletes, Ryan Bader and Phil Davis, are currently under contract with Bellator.
16    The 184th ranked light heavyweight, James Bochnovic, is currently under contract with Zuffa.
17    But in Dr. Singer’s calculation,
                                                                                          16
18                                                                      Topel Rep. ¶ 221.      This result
19    occurs because it is downstream revenue Zuffa succeeds in earning that is heavily weighting the
20    shares of Zuffa athletes in the input market of fighters.
21           Under Dr. Singer’s regression, Zuffa athletes are automatically worth orders of magnitude
22    more simply because they are under contract with Zuffa, regardless of their “quality.” Athletes at
23    other promoters are automatically worth orders of magnitude less simply because they compete
24    for other promoters, regardless of their “quality.” All this proves is that Zuffa makes the most
25    money. It does not answer the pertinent question—what is Zuffa’s share of MMA athletes. A
26    methodology that does not answer the question being asked cannot be said to have been reliably
27
      16 At the time of Professor Topel’s report, Bochanovic was the 183rd ranked light heavyweight.
28
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 1    applied to the facts of the case. Domingo, 289 F.3d at 607 (affirming exclusion of expert
 2    testimony where expert’s “conclusion simply did not follow from his analysis”).
 3            Dr. Singer’s own testimony shows that the application of his regression is not producing
 4    reliable results. He testified that the same group of athletes competing for another organization
 5    “would, in fact, generate something close to what was generated at Zuffa.” Singer Dep. II
 6    440:24-441:24. If athletes generate the same revenue at each promoter, then it makes no sense
 7    that his regression weights athletes so drastically differently.
 8            To make matters worse, Dr. Singer improperly cherry-picks data to artificially inflate
 9    Zuffa’s share of the market. Dr. Singer explains that the revenue he uses to “revenue-weight”
10    consists of PPV revenue and gate revenues, and not broadcast TV revenue. Singer Rep. ¶ 128.
11    But Dr. Singer acknowledges that “Zuffa was essentially the only MMA promoter offering PPV
12    events over this timeframe.” Singer Rep. ¶ 148. Other promoters, including Bellator (owned by
13    media giant Viacom), use a television broadcast model. Dr. Singer does not include any
14    equivalent of PPV revenue for these promoters. Singer Dep. I 78:20-79:18. Dr. Singer assumes
15    that Bellator makes no money from broadcasting its events on major national television. This is
16    not the “level of intellectual rigor that characterizes the practice of an expert” in regression
17    analysis or economics. Kumho Tire, 526 U.S. at 152; see SMS Systems Maintenance Servs., Inc.
18    v. Digital Equip. Corp., 188 F.3d 11, 25 (1st Cir. 1999) (“Expert opinions, however, are no better
19    than the data and methodology that undergird them”).
20       V.      Dr. Singer’s Unsupported Assertions Regarding Alleged Evidence of Competitive
                 Effects Should Be Excluded.
21
              In three separate instances, Dr. Singer observes a market effect and concludes that the
22
      effect is direct evidence of Zuffa’s use of monopoly or monopsony power. In each case, Dr.
23
      Singer made no attempt to investigate the possibility that some other cause could account for the
24
      effect he observed. Courts recognize that “social science has tools to isolate the effects of
25
      multiple variables and determine how they influence one dependent variable” and that failure to
26
      conduct such an analysis—as Dr. Singer failed to do with respect to each opinion addressed in
27
      this section—renders his opinion unreliable under Daubert. Zenith Elecs. Corp. v. WH-TV
28
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 1    Broad. Corp., 395 F.3d 416, 419 (7th Cir. 2005) (excluding expert testimony where economist
 2    failed to either conduct a regression analysis or explain why such an analysis could not be done).
 3               A. Dr. Singer’s Opinion that Zuffa Reduced MMA Events is Not Reliable.
 4           Dr. Singer claims that Zuffa implemented a profitable restriction in the number of PPV
 5    events that it promoted between 2010 and 2015 based on Zuffa holding less events than Singer
 6    projects using a trend line. Singer Rep. ¶ 148. Again, Singer makes no attempt to adjust for other
 7    factors, such as reduced demand, that could affect the number of MMA events put on each year.
 8    Furthermore, there is at least one obvious explanation for the reduction in PPV events between
 9    2010 and 2015—Zuffa signed a contract with Fox in 2011 that shifted more events to its
10    broadcast partner. Ex. 30, ZFL-1224424. Dr. Singer responds by asserting that a rational MMA
11    promoter would not transition PPV shows to broadcast.17 Not only is Singer’s assumption about
12    Zuffa’s intentions improper, In re Rezulin Product Liability Litigation, 309 F. Supp. 2d 531, 547
13    (S.D.N.Y. 2004) (“Inferences about the intent or motive of parties or others lie outside the bounds
14    of expert testimony”), it is also wrong. Ex. 31, Dep. of Lorenzo Fertitta 146:5-13 (“We had a
15    number of events which typically are on pay-per-view or a few times were broadcast, on Fox
16    broadcast”). Moreover, although there are variations from year to year, the overall number of
17    Zuffa events has consistently gone up both before and during the class period. Singer Rep.
18    Figures 4(a)-(c). By failing to account for any other explanation for the variance in the number of
19    events Zuffa held, Dr. Singer’s opinion clearly violates the reasonableness standard articulated in
20    Zenith. His type of speculation regarding record evidence is inadmissible, as other courts have
21    found. Jarrett v. Insight Commc’ns Co., L.P., No. 3:09-cv-00093-JHM, 2014 WL 3735193, at *7
22    (W.D. Ky. Jul. 29, 2014) (“Second, Dr. Singer’s opinion that Insight digital cable TV subscribers
23    who provide their own set-top box suffer quality degredation is not supported by the record”).
24

25

26    17
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 1               B. Dr. Singer’s Opinion that PPV Price Increases Are Direct Evidence of Monopoly
                    Power is Not Reliable.
 2
             Based on his analysis of Zuffa’s PPV revenue, Dr. Singer asserts that Zuffa implemented
 3
                                    PPV prices charged by cable companies between 2010 and 2015 and
 4
      that the increase is direct evidence of Zuffa’s monopoly power. Singer Rep. ¶ 147. Dr. Singer’s
 5
      opinion is methodologically unsound and conflicts with assumptions he makes elsewhere in his
 6
      report. Compare Singer Dep. I 74:13-24
 7

 8
      with id. 325:12-326:8 (
 9
                                    ). Record evidence is clear that, between 2008 to 2015,
10

11

12
                      Ex. 33, Dep. of Denitza Batchvarova 201:10-202:3.
13
             More importantly, Dr. Singer’s opinion is not reliable under Zenith because he fails to
14
      account for any of the other factors that could lead to a price increase. There are many reasons
15
      why businesses raise their prices aside from the exercise of monopoly power, for example, rising
16
      costs for goods or increased demand. Dr. Singer fails to run a regression or any other
17
      econometric test that controls for any other potential factor that could also lead to a price
18
      increase; instead, Dr. Singer assumes that the price increase must be a reflection of Zuffa’s power
19
      over price. Expert opinions are not helpful to the jury if they merely assume the answer to the
20
      question and are not able to properly account for other rational alternatives. See Craftsmen
21
      Limousine, Inc. v. Ford Motor Co., 363 F.3d 761, 777 (8th Cir. 2004) (holding that expert’s
22
      testimony could not aid the jury since expert simply “assumed” that plaintiff had lost growth as a
23
      result of the alleged conspiracy but “did not determine whether other factors, including the
24
      emergence of tow direct competitors, may have affected [plaintiff’s] growth rate”).
25

26

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 1                C. Dr. Singer’s Opinion that a Change in Sponsorship Rules Evidences Monopsony
                     Power is Not Reliable.
 2
             Dr. Singer claims that Zuffa’s imposition of a so-called “sponsorship tax,” in which over
 3
      time Zuffa required different types of sponsors (apparel, supplement) to pay a brand affiliation fee
 4
      in order to sponsor athletes during a UFC event, creates a “natural experiment” in which to
 5
      evaluate Zuffa’s ability to restrict athlete compensation. Singer Rep. ¶ 192. Once again, Dr.
 6
      Singer conducts no regression or other econometric test with regards to the sponsorship tax to
 7
      attempt to isolate the effect of that tax on the compensation of athletes holding everything else
 8
      constant. Many other factors would have impacted athlete compensation at the time of the so-
 9
      called sponsorship tax, including the fact that athlete compensation was consistently increasing,
10
      Topel Rep. ¶¶ 169-71, and the fact that the purpose and result of the brand affiliation fee was to
11
      increase the compensation for athletes. Ex. 34, Zuffa 30(b)(6) Fighter Compensation 8/15/17
12
      Dep. 156:12-158:5. Dr. Singer’s opinions were previously excluded under Daubert for failure to
13
      conduct a reliable “natural experiment.” Kamakahi v. Am. Soc. For Reproductive Medicine, 305
14
      F.R.D. 164, 182 (N.D. Cal. 2015) (criticizing Dr. Singer’s “natural experiment” for failing to
15
      limit his experiment to the scope of Plaintiffs’ allegations). Barring an effort on Dr. Singer’s part
16
      to isolate the effect of Zuffa’s alleged monopsony power from other factors that could affect
17
      athletes’ compensation, Dr. Singer’s opinion must be excluded under the reasoning of Zenith.
18
                                                CONCLUSION
19
             For the foregoing reasons, Zuffa respectfully requests this Court exclude Dr. Singer’s
20
      opinions.
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 1    Dated: February 16, 2018                 BOIES SCHILLER FLEXNER LLP
 2

 3
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 9                                                 Ultimate Fighting Championship and UFC
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 1                                       CERTIFICATE OF SERVICE
 2           The undersigned hereby certifies that service of the foregoing Zuffa, LLC’s Daubert
 3    Motion to Exclude Testimony of Dr. Hal Singer under Fed. R. Evid. 702 and Daubert was
 4    served to opposing counsel on February 16, 2018 via email and the Court’s CM/ECF electronic
 5    filing system addressed to all parties on the e-service list.
 6

 7                                                   __/s/ Roderick Crawford__________________
                                                     An employee of Boies Schiller Flexner LLP
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                      Zuffa’s Daubert Motion to Exclude Testimony of Dr. Hal Singer
